  UNITED STATES DISTRICT COURT
  FOR THE EASTERN DISTRICT OF NEW YORK
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  STUART E. STEINBERG, Individually and as Special
  Administrator of the ESTATE OF MAX D.                                  Case No. 24-CV-4999-ENV-SJB
  STEINBERG, EVIE R. STEINBERG, PAIGE P. TEREN
  and JAKE R. STEINBERG,                                                 WITH CORRECTED EXHIBITS 6-9
                                      Plaintiffs,
                          -against-
  QATAR CHARITY; QATAR NATIONAL BANK and                                 Served on Defendants’ U.S.
  MASRAF AL RAYAN,                                                       Counsel on October 16, 2024
                                      Defendants.
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 DECLARATION OF PATRICK L. ROCCO IN SUPPORT OF PLAINTIFFS’ MOTION
 FOR ORDER AUTHORIZING SERVICE OF PROCESS PURSUANT TO RULE 4(f)(3)
      OR, ALTERNATIVELY, FOR ISSUANCE OF LETTERS ROGATORY

       Patrick L. Rocco declares under penalties of perjury pursuant to 28 U.S.C. § 1746 as

follows:

       1.      I am an attorney duly licensed to practice law in the State of New York and before

this Court. I am a partner of the law firm of Fleischman Bonner & Rocco LLP, 81 Main Street,

Suite 515, White Plains, New York 10601, which is co-counsel to the Plaintiffs in this action. I

make this declaration in support of Plaintiffs’ motion for an order, pursuant to Fed. R. Civ. P.

4(f)(3) authorizing Plaintiffs to serve the Summons and Complaint on three Qatari Defendants

via electronic mail delivered to Defendants’ counsel of record in two related cases currently

pending in this District or, in the alternative, for an order pursuant to 28 U.S.C. § 1781 and Fed.

R. Civ. P. 4(f)(2)(B) issuing the Letters Rogatory submitted as Exhibits 7-9 hereto, and directing

the Clerk of Court to prepare exemplified copies of all documents to be served via said Letters

Rogatory.

       2.      The Plaintiffs in this action are the Estate of Max D. Steinberg, his parents, and

his two siblings. The late Max Steinberg was a United States citizen who was murdered on
July 20, 2014 in a terrorist attack committed in Israel by HAMAS, which is a U.S. government-

designated Foreign Terrorist Organization. The Plaintiffs allege that Defendants Qatar Charity,

Qatar National Bank, and Masraf Al Rayan conspired to launder funds from the State of Qatar

through the United States and Europe for the benefit of HAMAS. The Plaintiffs assert claims

against all three Defendants under the Anti-Terrorism Act, 18 U.S.C. §§ 2333, 2339A and

2339B, for their roles in facilitating the terrorist attack in which Max was murdered.

The Force, Henkin, and Przewozman Actions Against the Defendants in this District

       3.      In addition to the Steinberg estate and family members, my firm and I represent

other U.S. citizens who are plaintiffs in two other law suits currently pending in this District

against Qatar Charity, Qatar National Bank, and Masraf Al Rayan. See Stuart Force,

individually and as personal representative of the Estate of Taylor Force, et al. v. Qatar Charity,

Qatar National Bank, and Masraf Al Rayan, 1:20-cv-02578-BMC (the “Force Action”) and

Anne Chana Henkin, individually and as personal representative of the Estate of Judah Herzel

Henkin, et al. v. Qatar Charity, Qatar National Bank, and Masraf Al Rayan, 1:21-cv-05716-

RER-VMS (the “Henkin Action”). Annexed hereto as Exhibits 1 and 2, respectively, are true

and correct copies of the E.D.N.Y. Civil Dockets for the Force Action and the Henkin Action,

which were downloaded from Pacer on October 1, 2024.

       4.      Defendants’ motion to dismiss the complaint in the Force Action was fully

briefed as of April 13, 2022, and remains pending before Judge Cogan. See Exhibit 1 at p.32

(Docket Entry 72-75).

       5.      On March 31, 2023, Judge Donnelly granted Qatar National Bank’s motion to

dismiss the complaint in the Henkin Action, and denied without prejudice the motions to dismiss

by Qatar Charity and Masraf Al Rayan. See Exhibit 2 at p.21 (Docket Entry 81). The Court

authorized the Henkin plaintiffs to conduct jurisdictional discovery, which is currently on-going.
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See Exhibit 2 at p.21 (Docket Entry 81), p.22 (May 18, 2023 Minute Order), p.24 (Docket

Entry 106), p.25 (July 27, 2023 Minute Order), pp.27-28 (September 5, 2024 Minute Order).

       6.      A third law suit in this District against Qatar Charity, Qatar National Bank, and

Masraf Al Rayan was dismissed on July 11, 2023. Annexed hereto as Exhibit 3 is a true and

correct copy of the E.D.N.Y. Civil Docket for that case, Chaim Dov Przewozman, et al. v. Qatar

Charity, Qatar National Bank, and Masraf Al Rayan, 1:20-cv-06088-NGG-TAM (the

“Przewozman Action”), which was downloaded from Pacer on October 1, 2024.

       7.      Like the complaint in the above-captioned Steinberg Action, the complaints in the

Force, Henkin, and Przewozman Actions allege that Defendants Qatar Charity, Qatar National

Bank, and Masraf Al Rayan conspired with the government and Royal Family of Qatar to

provide material support to terrorist organizations to commit terror attacks in Israel in which U.S.

citizens were killed and injured. All four cases assert claims against the Defendants under the

Anit-Terrorism Act, 18 U.S.C. §§ 2333, 2339A and 2339B.

The Defendants’ U.S. Counsel in the Force, Henkin, and Przewozman Actions

       8.      Exhibits 1 and 2 reflect that the following attorneys associated with the law firm

DLA Piper LLP US are counsel of record for Defendant Qatar Charity in both the Force and

Henkin Actions, and that their e-mail addresses for receipt of notices of electronic filing in those

actions are as follows: John M. Hillebrecht (john.hillebrecht@dlapiper.com) and Michael

George Lewis (michael.lewis@dlapiper.com). See Exhibit 1 at p.20 and Exhibit 2 at pp.9-10.

       9.      Exhibits 1 and 2 reflect that the following attorneys associated with the law firm

Ropes & Gray LLP are counsel of record for Defendant Qatar National Bank in both the

Force and Henkin Actions, and that their e-mail addresses for receipt of notices of electronic

filing in those actions are as follows: Douglas H. Hallward-Driemeier (douglas.hallward-



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driemeier@ropesgray.com) and Michael G. McGovern (michael.mcgovern@ropesgray.com. See

Exhibit 1 at pp.20-21 and Exhibit 2 at p.10.

       10.     Exhibits 1 and 2 reflect that Carolina A. Fornos of Pillsbury Winthrop Shaw

Pittman LLP is counsel of record for Defendant Masraf Al Rayan in both the Force and

Henkin Actions, and that her e-mail address for receipt of notices of electronic filing in those

actions is Carolina.fornos@pillsburylaw.com. See Exhibit 1 at p.21 and Exhibit 2 at pp.10-11.

       11.     Exhibit 3 reflects that in the Przewozman Action, (a) Qatar Charity was

represented by attorneys John M. Hillebrecht and Michael George Lewis of DLA Piper LLP

US; (b) Qatar National Bank was represented by attorneys Douglas H. Hallward-Driemeier and

Michael G. McGovern of Ropes & Gray LLP, and (c) Masraf Al Rayan was represented by

Carolina A. Fornos of Pillsbury Winthrop Shaw Pittman LLP. See Exhibit 3 at pp.3-5.

       12.     The individual attorneys and law firms listed in paragraphs 8-11 above will be

referred to collectively hereafter as “Defendants’ U.S. Counsel.”

       13.     I have been involved in prosecuting the Force, Henkin, and Przewozman Actions

for more than four years. During that four-year period, I have communicated with Defendants’

U.S. Counsel, including by using the e-mail addresses listed in paragraphs 8-10 above.

My Communications With Defendants’ U.S. Counsel Concerning This Action

       14.     Since July 9, 2024, I have been in e-mail communication with Defendants’ U.S.

Counsel concerning the Steinberg Plaintiffs’ claims and this action. In response to my e-mails,

Defendants’ U.S. Counsel have communicated on behalf of the Defendants. At no point over the

past three months did Defendants’ U.S. Counsel state or otherwise indicate that they were not

authorized to speak on behalf of Defendants about the Steinberg Plaintiffs’ claims or this action.

True and correct copies of those e-mail communications between myself and Defendants’ U.S.

Counsel are annexed hereto as Exhibit 4.
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          15.   Initially, I asked Defendants’ U.S. Counsel if Defendants would consent to the

Steinberg family’s intervention in the Force Action. See Exhibit 4 at pp.12-13 (Rocco July 9,

2024 e-mail). In a July 15, 2024 e-mail with the subject line “RE: Force et al v. Qatar Charity et

al, No. 20-cv-02578,” which was copied to the other Defendants’ U.S. Counsel, Carolina A.

Fornos of Pillsbury Winthrop Shaw Pittman LLP responded to that request, stating:

“Defendants have discussed this matter, and we would consent to the Steinberg Plaintiffs’

motion to intervene pursuant to Fed. R. Civ. P. 24(b)(1)(B) provided that the Steinberg

Plaintiffs agree to be bound by the Court’s ruling as to Defendants’ pending motion to dismiss

without further briefing.” See id. at pp.9-10 (emphasis added). In a subsequent e-mail, sent on

September 3, 2024 and copied to the other Defendants’ U.S. Counsel, Ms. Fornos stated:

“[D]efendants are willing to be bound by whatever decision Judge Cogan renders on

Defendants’ pending motion to dismiss without further briefing concerning the Steinberg

complaint.” See id. at p.3 (emphasis added).

          16.   Because expiration of the statute of limitations applicable to their claims was

imminent, rather than seeking to intervene in the Force Action, the Steinberg family commenced

this action on July 18, 2024, identifying the pending Force and Henkin Actions as related cases.

See Docket Entry 1-1 (Civil Cover Sheet), and July 19, 2024 Docket Entry (“Notice of Related

Case: The Civil Cover Sheet filed in this civil action indicates a related case (20-cv-2578)(21-

cv-5716)(CV)(Entered: 7/19/2024).”)

          17.   On July 18, 2024, I e-mailed a courtesy copy of the Complaint in this action to

Defendants’ U.S. Counsel, and requested that counsel accept service of same on behalf of the

Defendants. See Exhibit 4 at pp.8-9. That email explained Plaintiffs’ change of strategy, as

follow:



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       Thank you for your offer to consent to the Steinberg plaintiffs’ intervention in
       Force. We are unwilling to delay effectuating service pending resolution of a
       motion to intervene in Force, and we are doubtful that such a motion will be
       successful given that the cases are currently assigned to separate judges. We
       propose instead that Defendants agree to waive formal service of the Steinberg
       complaint in exchange for the Steinberg plaintiffs’ agreement to jointly seek a
       determination that the Steinberg case is related to the first-filed Force case. In the
       event that Judge Cogan accepts the Steinberg case as related, the Steinberg
       plaintiffs are willing, on a reciprocal basis, to be bound by the outcome of the
       pending motion to dismiss in Force.


       18.      In an e-mail sent on July 29, 2024 and copied to the other Defendants’ U.S.

Counsel, Ms. Fornos responded: “As you know, Defendants consented to intervention on July

15th. Defendants do not consent, however, to service of a wholly separate complaint initiating a

new action against our clients by the Steinberg Plaintiffs—the fourth such litigation in this

district in as many years. Defendants’ prior consent to intervention was specifically grounded in

our understanding that this would preserve judicial resources, and otherwise avoid the burdens

attendant to mounting a separate defense to new allegations. For the avoidance of doubt,

Defendants would still consent to and believe the most appropriate path forward is the

Steinberg Plaintiffs’ filing a motion to intervene pursuant to Fed. R. Civ. P. 24(b)(1)(B)

provided that the Steinberg Plaintiffs agree to be bound by the Court’s ruling as to Defendants’

pending motion to dismiss without further briefing.” Id. at p.8 (emphases added).

       19.     Thereafter, I engaged in further communications with Defendants’ U.S. Counsel,

continuing to seek their acceptance of service of the Steinberg Complaint on behalf of the

Defendants. On July 31, 2024, I spoke with Ms. Fornos by telephone to request that Defendants

waive formal service of the Steinberg Complaint and join the Steinberg Plaintiffs in seeking a

judicial determination pursuant to Rule 3 of the Rules for the Division of Business for the

Eastern District of New York that the Steinberg Action is related to the first-filed Force Action.

During that call, Ms. Fornos indicated that she would consult with her client Masraf Al Rayan

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concerning my proposal.

       20.     Most recently, on September 18, 24 and 26, I e-mailed Defendants’ U.S. Counsel

concerning the Steinberg Plaintiffs’ intention to file the instant application, and requested

Defendants’ U.S. Counsels’ input regarding a proposed briefing schedule. See Exhibit 4 at pp.1-

3. In a September 30, 2024 e-mail, copied to the other Defendants’ U.S. Counsel, without

addressing the briefing schedule for this application, Ms. Fornos stated: “Please note in your

motion that defendants have stated that they oppose the motion because plaintiffs are required

to effect proper service consistent with the Federal Rules of Civil Procedure, Letters Rogatory,

and Qatari law, but have not even attempted to do so.” See id. at p.1 (emphasis added).

Unreported Decision in Sotloff v. Qatar Charity, et al., No. 9:22-cv-80726-DMM (S.D. Fla.)

       21.     On December 1, 2022, the U.S. District Court for the Southern District of Florida,

in an unreported decision a true and correct copy of which is annexed hereto as Exhibit 5,

ordered service of process on Qatar Charity and Qatar National Bank pursuant to Fed. R. Civ. P.

4(f)(3) via Federal Express delivery to their offices in Qatar and e-mail delivery to their counsel

of record in the Force, Henkin, and Przewozman Actions, all then pending in this District.

Service of Process by Letters Rogatory

       22.     The plaintiffs in the Force, Henkin, and Przewozman Actions effected service on

Qatar Charity, Qatar National Bank, and Masraf Al Rayan via letters rogatory. The Force

Action was commenced on June 10, 2020. See Exhibit 1 at p.1. Judge Cogan issued letters

rogatory for service of process on the Defendants in Qatar on September 17, 2020. See id. at

p.24 (ECF 18). On September 2, 2022—almost 2 years later—the Clerk of Court docketed in

the Force Action a notification from the U.S. Department of State that the Qatari authorities had

returned the executed letters rogatory to the U.S. Department of State on June 12, 2022. See id.

at p.33 (ECF 81). See also id. at pp.32-33 at ECF 77, 78 and 80 (Defendants’ letters to the Court
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acknowledging receipt of service via letters rogatory and withdrawing challenges to service in

their pending motions to dismiss).

       23.       The Henkin Action was commenced on October 13, 2021. See Exhibit 2 at p.1.

On November 10, 2021, Judge Donnelly issued letters rogatory for service of process on the

Defendants in Qatar. See id. at p.13 (ECF 16-18). On September 2, 2022—almost 10 months

later—the Clerk of Court docketed in the Henkin Action a notification from the U.S. Department

of State that the Qatari authorities had returned the executed letters rogatory to the U.S.

Department of State on June 12, 2022. See id. at p.20 (ECF 73). See also id. at p.19 at ECF 69,

70 and 72 (Defendants’ letters to the Court acknowledging receipt of service via letters rogatory

and withdrawing challenges to service in their then-pending motions to dismiss).

       24.       The Przewozman Action was commenced on December 15, 2020. See Exhibit 3

at p.1. On January 5, 2021, Judge Garaufis issued letters rogatory for service of process on the

Defendants in Qatar. See id. at p.6 (ECF 10). On September 2, 2022—over a-year-and-a-half

later—the Clerk of Court docketed in the Przewozman Action a notification from the U.S.

Department of State that the Qatari authorities had returned the executed letters rogatory to the

U.S. Department of State on June 12, 2022. See id. at p.12 (ECF 58). See also id. at p.12 at ECF

54, 54, and 57 (Defendants’ letters to the Court acknowledging receipt of service via letters

rogatory and withdrawing challenges to service in their then-pending motions to dismiss).

       25.       Annexed hereto as Exhibit 6 is a copy of the U.S. Department of State’s

publication “Preparation of Letters Rogatory” which was retrieved from the official website of

the U.S. Department of State at https://travel.state.gov/content/travel/en/legal/travel-legal-

considerations/internl-judicial-asst/obtaining-evidence/Preparation-Letters-Rogatory.html on

October 2, 2024. At page 2, this publication states that “Execution of letters rogatory may take a

year or more.”
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       26.     Annexed hereto as Exhibit 7 is a proposed Request for International Judicial

Assistance directed to the Appropriate Judicial Authority of the State of Qatar seeking assistance

in effecting service of the Summons and Complaint on Qatar Charity.

       27.     Annexed hereto as Exhibit 8 is a proposed Request for International Judicial

Assistance directed to the Appropriate Judicial Authority of the State of Qatar seeking assistance

in effecting service of the Summons and Complaint on Qatar National Bank.

       28.     Annexed hereto as Exhibit 9 is a proposed Request for International Judicial

Assistance directed to the Appropriate Judicial Authority of the State of Qatar seeking assistance

in effecting service of the Summons and Complaint on Masraf Al Rayan.

       29.     The U.S. Department of State advises that letters rogatory must bear the seal of

the Court and a judge’s signature. See Exhibit 6 hereto at p.3. The documents to be served

pursuant to the letters rogatory must be exemplified copies.

       30.     There has been no prior request for any of the relief requested herein.

       I declare under penalties of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is

true and correct.

Executed in Middlesex County, New York on October 16, 2024.




                                                    /s/ Patrick L. Rocco




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